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BLANK‌‌LAW,‌‌PC‌‌ ‌
Criminal‌‌Defense‌‌Attorney‌ ‌
Focused‌‌On:‌‌Sexual‌‌Assault‌‌Charges‌ ‌
                                                                                                                      ‌
NICOLE‌‌BLANK‌‌BECKER‌ ‌
3150‌‌Livernois‌‌Rd,‌‌Suite‌‌126,‌‌ ‌
Troy,‌‌MI‌‌48083‌ ‌
Phone‌‌:‌ ‌(248)‌‌515-6583‌ ‌
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Dear‌‌Counsel:‌‌ ‌
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          Pursuant‌‌to‌‌Rule‌‌16(b)(1)(C)‌‌of‌‌the‌‌Federal‌‌Rules‌‌of‌‌Criminal‌‌Procedure,‌‌the‌‌defense‌‌
anticipates‌‌and‌‌hereby‌‌notifies‌‌you‌‌that‌‌it‌‌intends‌‌to‌‌call‌‌at‌‌trial‌‌in‌‌the‌‌above-referenced‌‌matter‌
Dr.‌‌Marcus‌‌Degraw‌‌to‌‌testify‌‌about‌‌the‌‌matters‌‌described‌‌below.‌‌A‌‌curriculum‌‌vitae‌‌of‌‌the‌‌expert‌‌
will‌‌be‌‌attached.‌‌The‌‌defense‌‌reserves‌‌the‌‌right‌‌to‌‌call‌‌substitute‌‌expert‌‌witnesses.‌‌ ‌
  ‌
I.‌       Dr.‌‌Marcus‌‌Degraw‌ ‌
  ‌
                  Dr.‌‌Degraw‌‌is‌‌a‌‌medical‌‌doctor‌‌who‌‌holds‌‌a‌‌Federal‌‌DEA‌‌Professional‌‌License.‌‌
He‌‌is‌‌board‌‌certified‌‌in‌‌both‌‌Pediatrics‌‌and‌‌Child‌‌Abuse.‌‌He‌‌has‌‌held‌‌his‌‌Certifications‌‌since‌‌
2003‌‌and‌‌2009.‌‌Dr.‌‌Degraw‌‌currently‌‌serves‌‌on‌‌the‌‌Board‌‌of‌‌Directors‌‌at‌‌St.‌‌John‌‌Medical‌‌
Group,‌‌in‌‌Detroit,‌‌Michigan.‌‌He‌‌also‌‌is‌‌a‌‌member‌‌of‌‌the‌‌Board‌‌of‌‌Directors‌‌at‌‌Ascension‌‌St.‌‌
John‌‌Foundation.‌‌Dr.‌‌Degraw‌‌is‌‌also‌‌the‌‌Director‌‌of‌‌Business‌‌Operations‌‌for‌‌St.‌‌John‌‌Hospital‌‌
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Pediatrics.‌‌He‌‌is‌‌the‌‌Co-Chair‌‌at‌‌St.‌‌John‌‌Providence‌‌Physician‌‌Network‌‌Governance‌‌Council,‌‌
appointed‌‌by‌‌the‌‌hospital‌‌CEO.‌‌Dr.‌‌Degraw‌‌is‌‌a‌‌member‌‌of‌‌the‌‌Wayne‌‌County‌‌(includes‌‌Detroit,‌‌
Michigan)‌‌Death‌‌Review‌‌Team.‌‌Dr.‌‌Degraw‌‌also‌‌possesses‌‌several‌‌peer‌‌reviewed‌‌publications,‌‌
including‌‌but‌‌not‌‌limited‌‌to,‌‌DeGraw‌‌M,‌‌Makoroff‌‌K,‌‌Shapiro‌‌R.‌‌Examination‌‌findings‌‌in‌‌
pre-pubertal‌‌and‌‌adolescent‌‌females‌‌who‌‌present‌‌with‌N       ‌ .‌‌gonorrhea‌‌or‌‌C.‌‌trachomatis‌‌vaginal‌‌
infections.‌‌‌PAS/AAP‌‌joint‌‌meeting‌‌publication,‌‌May‌‌2003.‌‌He‌‌also‌‌has‌‌a‌‌number‌‌of‌‌Clinical‌‌
Guidelines,‌‌for‌‌example,‌‌DeGraw‌‌M,‌‌Shapiro‌‌R.‌C      ‌ hlamydia‌‌trachomatis‌‌and‌‌Sexual‌‌Abuse‌‌‌-‌‌A‌‌
Fact‌‌Sheet‌‌for‌‌Non-Medical‌‌Readers.‌‌Mayerson‌‌Center‌‌for‌‌Safe‌‌and‌‌Healthy‌‌Children,‌‌2002.‌‌He‌‌
also‌‌possesses‌‌an‌‌enormous‌‌amount‌‌of‌‌Professional‌‌Presentations,‌‌for‌‌example,‌‌DeGraw‌‌M.‌‌
Presenting‌‌Cervical‌‌Cancer‌‌and‌‌other‌‌HPV‌‌Diseases.‌‌Grand‌‌Rounds‌‌at‌‌St.‌‌John‌‌Hospital.‌‌
September‌‌1st,‌‌2006.‌‌St.‌‌John‌‌Hospital,‌‌Detroit,‌‌MI‌‌48236‌‌and‌‌DeGraw‌‌M.‌‌HPV‌‌disease‌‌
associated‌‌problems‌‌and‌‌prevention‌‌with‌‌Gardasil.‌‌Grand‌‌Rounds‌‌at‌‌St.‌‌John‌‌Hospital‌‌–‌‌Detroit,‌‌
MI.‌‌February‌‌5th,‌‌2009.‌‌Dr.‌‌Degraw‌‌has‌‌provided‌‌expert‌‌testimony‌‌in‌‌criminal‌‌cases‌‌at‌‌both‌‌the‌‌
state‌‌and‌‌federal‌‌level.‌‌ ‌
  ‌
Dr.‌‌Degraw‌‌will‌‌testify‌‌about‌‌how‌‌Herpes‌‌Simplex‌‌Virus‌‌(HSV)‌‌is‌‌one‌‌of‌‌the‌‌most‌‌common‌‌
sexually‌‌transmitted‌‌diseases‌‌in‌‌the‌‌United‌‌States.‌‌He‌‌will‌‌testify‌‌about‌‌whether‌‌HSV‌‌is‌‌
asymptomatic‌‌or‌‌symptomatic.‌‌Dr.‌‌Degraw‌‌will‌‌testify‌‌about‌‌testing‌‌after‌‌exposure‌‌to‌‌HSV,‌‌and‌‌
whether‌‌or‌‌not‌‌an‌‌individual‌‌is‌‌able‌‌determine‌‌if‌ ‌the‌‌exposure‌‌and/or‌‌infection‌‌occurred‌‌during‌‌
that‌‌exposure,‌‌or‌‌possibly‌‌another‌‌exposure,‌‌he‌‌will‌‌explain‌‌the‌‌reasons‌‌that‌‌an‌‌individual‌‌was‌‌
quite‌‌possibly‌‌already‌‌infected‌‌prior‌‌to‌‌exposure.‌‌Whether‌‌or‌‌not‌‌serological‌‌testing‌‌for‌‌HSV‌‌
assists‌‌or‌‌does‌‌not‌‌assist‌‌in‌‌determining‌w‌ hen‌‌‌an‌‌individual‌‌was‌‌infected.‌‌Further,‌‌whether‌‌
serological‌‌testing‌‌has‌‌any‌‌value‌‌in‌‌attempting‌‌to‌‌determine‌w    ‌ hom‌‌‌an‌‌individual‌‌was‌‌infected‌‌
by.‌‌How‌‌the‌‌disease‌‌manifests‌‌and‌‌presents‌‌itself‌‌and‌‌when‌‌attempting‌‌to‌‌determine‌‌“who”‌‌the‌‌
individual‌‌contracted‌‌the‌‌disease‌‌from,‌‌the‌‌fact‌‌that‌‌the‌‌number‌‌of‌‌prior‌‌sexual‌‌partners‌‌plays‌‌a‌‌
role.‌ ‌Dr.‌‌Degraw‌‌may‌‌also‌‌explain‌‌certain‌‌medical‌‌records,‌‌including‌‌those‌‌belonging‌‌to‌‌Mr.‌‌
Kelly‌‌and‌‌Jane‌‌Doe‌‌#6.‌ ‌
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                                                    Respectfully‌‌submitted,‌ ‌
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                                                    /s/‌‌Nicole‌‌Blank‌‌Becker‌ ‌
                                                    Nicole‌‌Blank‌‌Becker‌ ‌
                                                    Thomas‌‌A.‌‌Farinella‌ ‌
                                                    Counsel‌‌for‌‌Robert‌‌S.‌‌Kelly‌ ‌
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